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                                                                                        FILED
                                                                                    December 4, 2024
    SEALED                                                                       CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                             UNITED STATES DISTRICT COURT                             By:      RR
                              WESTERN DISTRICT OF TEXAS                                              Deputy
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                                      NtOn
                                         NiIoO DIVISION
                                                        Case No:                    SA:24-CR-00600-XR

 UNITED STATES OF AMERICA


                                                       INDICTMENT
                  v

 BROOKLYNN CHANDLER WILLY
                                                       Obstruction of, and Attempt to Obstruct,an Official Proc
         Defendant


                                                       False Statement

                                                       AggravatedIdentity Theft




THE GRAND JURY CHARGES:


                                  GENERAL ALLEGATIONS

At all times relevant herein:

        1.       On or about November 2, 2023, the Federal Bureau of Investigation (“FBI”) and

the Internal Revenue Service Criminal Division (“IRS”) began a criminal investigation into an

investor fraud scheme centered in San Antonio and Lubbock, Texas. A Federal Grand Jury for

the Western District of Texas, sitting in San Antonio, issued numerous federal grand jury

subpoenas as part of this investigation. As of the date of this Indictment, this investigation is

ongoing (the “Federal Investigation”).

       2.        The Defendant, BROOKLYNN CHANDLER WILLY (“WILLY”) was the

owner of San Antonio based company named Queen B Advisors LLC d/b/a Texas Financial


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Advisory (“TFA”) and was the owner and sole proprietor of Chandler Capital Holdings

(“Chandler Capital”). Among other services, TFA purported to provide asset management and

financial planning services.

       3.       Victim 1 and Victim 2 are a married couple who reside in the Western District of

Texas. Beginning by at least 2018, Victim 1 and Victim 2 utilized WILLY’s and TFA’s

services for asset management and investment advice. At WILLY’s recommendation, in or

around March of 2018, Victim 1 and Victim 2 invested money into an investment company

based in Lubbock, Texas (“Company 1”).

       4.       In or around May of 2021, WILLY recommended that Victim 1 and Victim 2

invest again with the owners of Company 1. At WILLY’s recommendation, Victim 1 and

Victim 2, through an investment company they controlled (“Victim’s Investment company),

agreed to invest $500,000 into Company 1 through two notes of $250,000 each. The notes

carried terms of one and three years respectively and both notes purported to pay an interest rate

of 12%.

       5.       To consummate this investment, in or around May of 2021, WILLY presented

Victim 1 and Victim 2 with several documents concerning their believed $500,000 investment

into Company 2. Included within these documents was a document entitled “EXCLUSIVE

AGENCY AGREEMENT” which was dated May 7, 2021, and signed by WILLY, Victim 1, and

Victim 2 (the “Agency Agreement”). The Agency Agreement sets forth Chandler Capital as an

“agent” of Victim’s Investment company. Under the duties section of the Agency Agreement,

the “agent” (Chandler Capital) agreed to execute and deliver a contract between Victim’s

Investment company and Company 1.




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       6.       On or about May 7, 2021, Victim 1 wrote a check on behalf of Victim’s

Investment company to Chandler Capital for $500,000. The “for” line of the check states the

check is for Company 1. WILLY deposited this check into the bank account for Chandler

Capital. The $500,000 was never sent to Company 1 or any other company owned or controlled

by the owners of Company 1 but was used by WILLY for her own purposes including payments

to a credit card used by WILLY, checks made to WILLY personally, payments to other

investors, and payments to another business owned and controlled by WILLY.

       7.       On or about May 31, 2022, Victim 1 and Victim 2 received a “statement” from a

different company owned and controlled by the owners of Company 1 (“Company 2”) which

purported to reflect their $500,000 investment was presently worth $560,000 and was held in the

name of Chandler Capital for the benefit Victim 1 and Victim 2. Among other things, the

ongoing Federal Investigation includes investigating whether there was fraud in connection with

Victim 1 and Victim 2’s $500,000 investment. As part of the Federal Investigation, on August

21, 2024, Federal agents served Federal Grand Jury Subpoenas to TFA and Chandler Capital.

Included in both subpoenas were demands for production of all documents (including investor

agreements and contracts) and communications relating to Victim 1, Victim 2, and Victim’s

Investment company.

       8.       On or about September 18, 2024, TFA and Chandler Capital produced records

pursuant to the Federal Grand Jury Subpoena. Attached to the submissions are notarized

Certificates of Authenticity for TFA and Chandler Capital which were signed by WILLY.

Through these certificates, WILLY stated the provided records were “true duplicates of original

records” in the custody of TFA and Chandler Capital.




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       9.       One of the records provided by WILLY pursuant to the Federal Grand Jury

subpoena was a document entitled “REVOLVING LINE OF CREDIT AGREEMENT” which

appeared to be a contract and a promissory note between WILLY and Victim’s Investment

company. Both the revolving line of credit agreement and promissory note purported to be an

agreement for a $500,000 line of credit to WILLY from Victim’s Investment company with a

maturity date of April 16, 2026. Both the revolving line of credit agreement and promissory note

appeared to be signed by WILLY, Victim 1 and Victim 2. In truth, the revolving line of credit

agreement and promissory note were false. Neither Victim 1 nor Victim 2 signed the false

revolving line of credit agreement and false promissory note nor agreed to their terms.

       10 .     Neither TFA nor Chandler Capital provided the actual Agency Agreement as part

of their response to the Federal Grand Jury subpoena.

       11.      On November 19, 2024, Federal Agents interviewed WILLY in San Antonio,

Texas. During the interview, WILLY provided the false revolving line of credit agreement and

false promissory note to Federal Agents. WILLY falsely claimed the false revolving line of

credit agreement and false promissory note were true and correct documents. WILLY also

claimed that Victim 1 and Victim 2 signed the false documents in her presence at her office in

San Antonio. During the interview, WILLY falsely claimed she told Victim 1 and Victim 2 that

their $500,000 investment would be loaned to WILLY personally and the loan would not mature

until April 16, 2026. During the interview, WILLY falsely claimed there were no other

agreements or contracts, signed or unsigned, relating to the $500,000 investment from Victim 1

and Victim 2.




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                                          COUNT ONE
                                   [18 U.S.C. §§ 1512(c)(2) & 2]
                (Obstruction of, and Attempt to Obstruct, an Official Proceeding)

       12.       Count One incorporates by reference, as if fully set forth herein, each and every

paragraph of this Indictment.

       13 .      From between on or about August 21, 2024, to on or about December 4, 2024, in

                                     Defendant,

                                BROOKLYNN CHANDLER WILLY

did corruptly obstruct, influence, and impede and attempt to obstruct, influence, and impede an

official proceeding, that is, a federal grand jury proceeding by:

       a. Providing or causing to be provided the false revolving line of credit agreement and

              false promissory note on behalf of TFA and Chandler Capital in response to the

              Federal Grand Jury subpoena;

       b. Providing or causing to be provided the false revolving line of credit agreement and

              false promissory note to Federal Agents during WILLY’s interview with Federal

              Agents on November 19, 2024;

       c. Falsely stating to Federal Agents during WILLY’s interview on November 19, 2024,

              that the false revolving line of credit agreement and false promissory note were in fact

              true and correct reflections of her agreement with Victim 1 and Victim 2 concerning

              the May 7, 2021, $500,000 payment Victim 1 and Victim 2 made to Chandler

              Capital; and

       d. Falsely stating to Federal Agents during her interview on November 19, 2024, that

              the there were no other agreements between WILLY and Victim 1 and Victim 2




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              concerning the May 7, 2021, $500,000 payment Victim 1 and Victim 2 made to

              Chandler Capital.

       All in violation of 18 U.S.C. §§ 1512(c)(2) &2.

                                           COUNT TWO
                                       [18 U.S.C. § 1001(a)(2)]
                                          (False Statement)

       14.       Count Two incorporates by reference, as if fully set forth herein, each and every

paragraph of this Indictment.

       15 .      From between on or about August 21, 2024, to on or about December 4, 2024, in

                                     Defendant,

                                  BROOKLYNN CHANDLER WILLY

did willfully and knowingly make a materially false, fictitious, and fraudulent statements and

representations in a matter within the jurisdiction of the executive branch of the Government of

the United States, by stating to Federal Agents that the false revolving line of credit agreement

and false promissory note which WILLY provided and caused to be provided pursuant to a

Federal Grand Jury subpoena were true and accurate documents and were signed by Victim 1

and Victim 2. The statement and representations were false because, as WILLY then and there

knew, the false revolving line of credit agreement and false promissory note were never entered

into by Victim 1 and Victim 2 and were never signed by Victim 1 and Victim 2.

       All in violation of 18 U.S.C. §§ 1001(a)(2).

                                         COUNT THREE
                                        [18 U.S.C. § 1028A]
                                     Aggravated Identity Theft

       16 .      Count Three incorporates by reference, as if fully set forth herein, each and every

paragraph of this Indictment.




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       17.     From between on or about August 21, 2024, to on or about December 4, 2024, in

                                  Defendant,

                            BROOKLYNN CHANDLER WILLY,

did knowingly transfer, possess, and use, without lawful authority, a means of identification of

another person, to wit a false revolving line of credit agreement and false promissory note with

the false and copied signatures of Victim 1 and Victim 2, during and in relation to a felony

violation enumerated in 18 U.S.C. § 1028A(c), to wit, a violation of 18 U.S.C. § 1001(a)(2) as

charged                                                                                            in




                                             FOREPERSON OF THE GRAND JURY



       JAIME ESPARZA
       UNITED STATES ATTORNEY


BY:
       For Joseph E. Blackwell
       Assistant United States Attorney


BY:    __________________________
       For KELLY G. STEPHENSON
       Assistant United States Attorney




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